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                                                                                           hl.S.DW@seE@m8

                                 UNITED STATES DISTRICT COURT
                                                                                               MAR 0 1223
                                                                                                        "


                                 NORTHERN DIS'TRICT OF GEORGIA
                                         ROME DIVISION

UNITED STATES OF AMERICA                                                                          "    ?)


-vs-                                                                Case No. 4:08-CR-033-01 -RLV

JAMES BARTHOLOMEW HUSKEY
                                                                    Defendant's Attorney:
                                                                    MATTHEW DODGE

                                  JUDGMENT IN A CRIMINAL CASE
                        (For Offenses Committed On or After November 1,1987)

The defendant plead guilty to Count(s) ONE (I), TWO (2), and THREE (3) of the Indictment.

Accordingly, the defendant is adjudged guilty of such count(s) which involves the following offense:

Title & Section                            Nature of Offense                          Count No.

18 U.S.C. 9922521(a)                       Manufacturing Child Pornography                    1

18 U.S.C. §2252A(a)(2)(A) and              Receipt and Distribution of Child Pornography      2
2256(8)(A)

18 U.S.C. §2252A(a)(2)(A) and              Receipt and Distribution of Child Pornography      3
2256(8)(A)

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay the special assessment of $300 which shall be due immediately.

The Court finds that the defendant does not have the ability to pay a fine, cost of incarceration, and cost of
supervision. The Court will waive the fine, cost of incarceration, and cost of supervision in this case.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district within
thirty days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No.         8836                      Date of Imposition of Sentence: March 5, 2009
Defendant's Date of Birth:        1969
Defendant's Mailing Address:
Trion, Georgia 30753


Signed this the 5ith day of March 2009.
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                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of 360 Months on Count 1,240 months on Count 2, to be served consecutively to Count 1,
and 240 months on Count 3, to be served consecutively to Counts 1 and 2, to the extent necessary
to impose a total sentence of 840 months.


The defendant is remanded to the custody of the United States Marshal.




                                             RETURN

I have executed this judgment as follows:




Defendant delivered on                               to

at                                                              , with a certified copy of this judgment.



                                                                  UNITED STATES MARSHAL



                                                                                 Deputy U.S. Marshal
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                                        SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be placed on supervised release for the remainder of
his natural life on each of Counts 1, 2, and 3. Within 72 hours of release from the custody of the Bureau of
Prisons, the defendant shall report in person to the probation office in the district to which the defendant is
released.

While on supervised release, the defendant shall not commit another federal, state or local crime, shall comply
with the standard conditions that have been adopted by this court, and shall comply with the following
additional conditions:

1. The defendant shall not own, possess or have under his control any firearm, dangerous weapon or other
destructive device.

2. Pursuant to 18 U.S.C. §3583(d), the defendant shall submit his person, and any property, house,
residence, vehicle, papers, computer other electronic communication or data storage devices or media, and
effects, to search at any time, with or without a warrant, by any law enforcement or probation officer with
reasonable suspicion concerning a violation of a condition of probation or unlawful conduct by the person, and
by any probation officer in the lawful discharge of the officer's supervision functions. The defendant shall
permit confiscation andlor disposal of any material considered contraband or any other item which may be
deemed to have evidentiary value related to violations of supervision.

3. Pursuant to 42 U.S.C. §14135a(d)(l) and 10 U.S.C. §1565(d), which requires mandatory DNA testing for
federal offenders convicted of felony offenses, the defendant shall cooperate in the collection of DNA as
directed by the probation officer.

4. The defendant shall make regular monthly payments toward any outstanding restitution at a rate to be set
in accordance with the Court-approved payment schedule, but in no event less than $200 monthly.

5. The defendant shall make a full and complete disclosure of finances and submit to an audit of financial
documents, at the request of the United States Probation Officer until the restitution is paid in full.
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                        STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this judgment, the defendant shall not commit
another federal, state or local crime. In addition:

1.     The defendant shall not leave the judicial district without the permission of the court or probation
       officer;

2.     The defendant shall report to the probation officer as directed by the court or probation officer and
       shall submit a truthful and complete written report within the first five days of each month;

3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
       of the probation officer;

4.     The defendant shall support his or her dependents and meet other family responsibilities;

5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
       schooling, training, or other acceptable reasons;

6.     The defendant shall notify the probation officer within 72 hours of any change in residence or
       employment;

7.     The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
       distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
       such substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests
       as directed by the probation officer to determine the use of any controlled substance;

8.     The defendant shall not frequent places where controlled substances are illegally sold, used,
       distributed, or administered;

9.     The defendant shall not associate with any persons engaged in criminal activity, and shall not
       associate with any person convicted of a felony unless granted permission to do so by the probation
       officer;

10.    The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
       shall permit confiscation of any contraband observed in plain view by the probation officer;

11.    The defendant shall notify the probation officer within 72 hours of beiflg arrested or questioned by a
       law enforcement officer;

12.    The defendant shall not enter into any agreement to act as an informer or a special agent of a law
       enforcement agency without the permission of the court;

13.    As directed by the probation officer, the defendant shall notify third parties of risks that may be
       occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
       the probation officer to make such notifications and to confirm the defendant's compliance with such
       notification requirement.
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                                              RESTITUTION

The defendant shall make restitution to the following person(s) in the following amounts:

        Name of Pavee                                     Amount of Restitution

        Sherri Jackson, on behalf of minor victim                 $12,026.02

The restitution shall be paid in full immediately.
